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Case 5:06-cv-01730-JW Document 53 Filed 02/13/07 Page 1 of 28

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UNITED STATES DISTRICT COURT

NORTHERN DISTRICT OF CALIFORNIA

IN RE COUNTY OF MONTEREY INITIATIVE

MATTER, and

IN RE MONTEREY REFERENDUM.

CASE NO. C 06-01407 JW
CASE NO. C 06-01730 JW
CASE NO. C 06-02202 JW
CASE NO. C 06-02369 JW

MELENDEZ PLAINTIFFS’ AND
RANCHO SAN JUAN OPPOSITION
COALITION PLAINTIFFS’
CONSOLIDATED OPPOSITION TO
COUNTY DEFENDANTS’ AND
RANGEL PLAINTIFFS’ MOTIONS
FOR SUMMARY JUDGMENT

Judge: Hon. James Ware
Ctrm: 8

Date: February 27, 2007
Time: 9:00 a.m.

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MELENDEZ’S AND RSJOC’S CONSOLIDATED OPPOSITION TO COUNTY DEFENDANTS’
AND RANGEL PLAINTIFFS’ MOTIONS FOR SUMMARY JUDGMENT

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CONTENTS
TABLE OF AUTHORITIES... 2.1... ccc tenn eee teen e eee
INTRODUCTION .......0... 0.00 teen ene teen e ee eee eee
I. THE MELENDEZ ACTION SHOULD BE REMANDED TO STATE COURT FOR RESOLUTION

C. MELENDEZ PLAINTIFFS’ ADDITIONAL REQUEST FOR DECLARATORY RELIEF IS
NOT MOOT 2.0.0... 0 ccc eee ee ee eee cece nee eees
IL. THE COURT SHOULD ORDER THAT THE REFERENDUM MEASURE BE PLACED ON THE
JUNE 2007 BALLOT oo. ce cee cee eee eee eee eee e en eenees
A. THE PADILLA EN BANC DECISION FULLY APPLIES TO THE REFERENDUM
PETITIONS AT ISSUE HERE BECAUSE THEY WERE NOT “PROVIDED” BY THE
COUNTY 1.0... 0c ccc eee eee e eee eee eben eeneenes
B. REFERENDUM PETITIONS DO NOT CONSTITUTE “MATERIALS OR OTHER
INFORMATION RELATING TO THE ELECTORAL PROCESS” ..........--000-
C. THE LEGISLATIVE HISTORY OF SECTION 203 OF THE VOTING RIGHTS ACT
EXPRESSES CONGRESS’ CLEAR INTENT THAT “PETITIONS THAT ARE
INITIATED AND DISTRIBUTED BY PRIVATE CITIZENS” ARE “EXCLU[DED]”
FROM SECTION 203) 1... oe ee ee ee ee beeen etna naas
D. THERE IS NO MERIT TO RANGEL PLAINTIFFS’ REQUEST TO CONVENE A THREE-
JUDGE COURT ....... 00.0 cee eee cence cece ee enennannnnues
CONCLUSION 2.0... oo cc ce eee eee e ene e ee eb ben eeeeennnes

Case 5:06-cv-01730-JW Document 53 Filed 02/13/07 Page 2 of 28

OF PLAINTIFFS’ STATE-LAW CAUSES OF ACTION AND FOR FINAL DISPOSITION OF

THAT-CASE 0... ccc cc ce cee nee ee beeen een bene ene neenaee

A. THE COURT DoES NoT HAVE JURISDICTION OVER THE MELENDEZ ACTION
PURSUANT TO THE 28 U.S.C. § 1443(2) BECAUSE THE COUNTY IS NOT

REFUSING TO PLACE THE INITIATIVE ON THE BALLOT ...............-..-

B. THE COUNTY’S VOLUNTARY AND NON-BINDING DECISION TO PLACE THE
INITIATIVE ON THE BALLOT DOES NoT Moot MELENDEZ PLAINTIFFS’

REQUEST FOR INJUNCTIVE RELIEF 2.0.0.0 0 000 cece eee eee nee

i

In re County of Monterey Initiative Matter (Case Nos. C 06-01407 JW, C 06-01730 JW)
In re Monterey Referendum (Case Nos. C 06-02202 JW, C 06-02369 JW)

MELENDEZ S AND RSJOC’S CONSOLIDATED OPPOSITION TO COUNTY DEFENDANTS’

AND RANGEL PLAINTIFFS MOTIONS FOR SUMMARY JUDGMENT

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18
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20
21
22
23
24
25
26
27
28

Case 5:06-cv-01730-JW Document 53 Filed 02/13/07 Page 3 of 28

TABLE OF AUTHORITIES

Federal Cases

Adarand Constructors, Inc. v. Slater, 528 U.S. 216 (2000) .... 0... eee 5,9
Allen v. State Board of Elections, 393 U.S. 544 (1969) 2.0... ccc eee ee 22
City of Mesquite v. Aladdin's Castle, Inc., 455 U.S. 283 (1981) «0.1 eee ee eee 6
In re County of Monterey Initiative Matter, 427 F. Supp. 2d 958 (N.D. Cal. 2006) .......... 4
Delgado v. Smith, 861 F.2d 1489 (11th Cir. 1989) 2.0... eee ene 14, 20, 21
Dougherty County Board of Education v. White, 439 U.S. 32 (1978) «0.2... 02. ee eee eee 20
FTC y. Affordable Media, LLC, 179 F.3d 1228 (9th Cir. 1999) .. 0... cece eee eee 1,5
Gerena-Valentin v. Koch, 523 F. Supp. 176 (S.D.N.Y. 1981) 2.0.0.0... eee eee 15, 17, 18
Hertzberg v. Dignity Partners, Inc., 191 F.3d 1076 (9th Cir. 1999) 60... eee eee 20
Hoyle v. Priest, 59 F. Supp. 2d 827 (W.D. Ark. 1999) 2... eee ee 15
In re Kelly HI, 841 F.2d 908 (9th Cir. 1988) 2. ee eee 19
Maryland Casualty Co. v. Pacific Coal & Oil Co., 312 U.S. 270 (1941) 6. eee eee 8
Montero v. Meyer, 861 F.2d 603 (10th Cir. 1988) 2.0... . ee eee ee eee 14, 20, 21
National Advertising Co. v. City of Fort Lauderdale, 934 F.2d 283 (9th Cir. 1991) ........ 5, 6
Northwest Environmental Def. Center v. Gordon, 849 F.2d 1241 (9th Cir. 1988) ........... 4
Olgaues v. Russoniello, 770 F.2d 791 (Oth Cir. 1985) 2. ce eee 8
Padilla v. Lever, 446 F.3d 963 (9th Cir. April 28, 2006) .. 0... . ee eee eee 19, 20
Padilla v. Lever, 463 F.3d 1046 (9th Cir. 2006) ........0 0.0... eee passim
Rains v. Criterion Systems, Inc., 80 F.3d 339 (9th Cir. 1996) 2.2.2... ee eee 4
Societe de Conditionnement v. Hunter Engineering, Co., 655 F.2d 938 (9th Cir. 1981) ....... 8
Zaldivar v. City of Los Angeles, 780 F.2d 823 (9th Cir. 1986) 2.20... eee eee 14
State Cases
Parsons v. Tickner, 31 Cal. App. 4th 1513 20... cece eee e eens 9

ii

Jn re County of Monterey Initiative Matter (Case Nos. C 06-01407 JW, C 06-01730 JW)
In re Monterey Referendum (Case Nos. C 06-02202 JW, C 06-02369 JW)

MELENDEZ’S AND RSJOC’S CONSOLIDATED OPPOSITION TO COUNTY DEFENDANTS’

AND RANGEL PLAINTIFES’ MOTIONS FOR SUMMARY JUDGMENT

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Case 5:06-cv-01730-JW Document 53 Filed 02/13/07 Page 4 of 28

Save Stanislaus Area Farm Economy v. Board of Supervisors,
13 Cal. App. 4th 141 (1993) 2... eee nee 8

Docketed Cases
Chinchay v. Verjil, No. 06-1637 (C.D. Cal. Apr. 11, 2006) .... 0.02. eee eee 13

City and County of San Francisco v. Civil Service Commission of the City and
County of San Francisco, No. 02-03462, 2002 WL 1677711

(N.D. Cal. July 24, 2002) 2... cee eee 4
Lockyer v. U.S. Forest Service, No. 04-02588, 2006 WL 2038491

(N.D. Cal. July 20, 2006)... cee ee eee eee eee 5
Morcote v. Oracle Corp., No. 05-0386, 2005 WL 3157512 (N.D. Cal. Nov. 23, 2005) ....... 5

Federal Statutes

28 U.S.C. § 1331 0. nn ete ete e nee eens 22
28 U.S.C. § 1343(a)(3) 2. ee eee ees 22
28 U.S.C. § 1343(4) occ eee e ten ene eer ene eee 22
28 U.S.C. § 1443(2) 2... ee eee. tenet eee ee cece eee teens 1, 3, 22
28 ULS.C. § 1973aa-2 eee ete teen ee renee ees 22
28 US.C. § 2201 2. eee een eee eee 7, 22
28 U.S.C. § 2202 2. ee ete tenn e eee ene eens 22
42 U.S.C. § 19731(D) een en eee enn es 19
H.R. Rep. No. 109-478, 2006 WL 1403199 (May 22, 2006) ................. 000006. 19, 20
S. Rep. No. 94-295, as reprinted in 1975 U.S.C.C.A.N. 774 20. cece eee 19

State Statutes
Cal. Code of Civ. Proc., § 1060) 2... cece een een ne nea 9
Cal. Elec. Code,

§ 9146 cece ec cece cece bebe b etn beet be ete tbnetteneneranes 12

SOMA ccc cece cece cece eee e eb eevee eet eeeteteeeeteebeennes 12

§§ 11020(b) oo c cece c eee ce cece eee e ee eeseeetteeeeestenrerees 12
iii

In re County of Monterey Initiative Matter (Case Nos. C 06-01407 JW, C 06-01730 JW)
In re Monterey Referendum (Case Nos. C 06-02202 JW, C 06-02369 JW)

MELENDEZ’S AND RSJOC’S CONSOLIDATED OPPOSITION TO COUNTY DEFENDANTS’

AND RANGEL PLAINTIFFS’ MOTIONS FOR SUMMARY JUDGMENT

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Case 5:06-cv-01730-JW Document 53 Filed 02/13/07 Page 5 of 28

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In re County of Monterey Initiative Matter (Case Nos. C 06-01407 JW, C 06-01730 JW)
In re Monterey Referendum (Case Nos. C 06-02202 JW, C 06-02369 JW)

MELENDEZ S AND RSJOC’S CONSOLIDATED OPPOSITION TO COUNTY DEFENDANTS’

AND RANGEL PLAINTIFFS’ MOTIONS FOR SUMMARY JUDGMENT

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Case 5:06-cv-01730-JW Document 53 Filed 02/13/07 Page 6 of 28

INTRODUCTION

Plaintiffs William Melendez et al. and Plaintiffs Rancho San Juan Opposition Coalition et
al. (“Melendez and RSJOC plaintiffs”) submit this consolidated opposition to the motions for
summary judgment filed by Defendants County of Monterey et al. (“County Defendants” or the
“County”) and Plaintiffs Sabas Rangel et al. (“Rangel plaintiffs”).

In the Initiative cases (Jn re County of Monterey Initiative Matter, a consolidation of
Melendez v. Board of Supervisors and the now-dismissed Madrigal v. County of Monterey), there
is no longer any dispute over the validity of the Initiative: County Defendants have given up on their
year-old argument that the Initiative petitions violated Section 203 of the Voting Rights Act
(“VRA”) because they were not translated into Spanish — as have the plaintiffs in the Madrigal
action, who have voluntarily dismissed their action seeking to prohibit the County from holding an
election on the Initiative — and the County has called for an election to be held on June 5, 2007, to
submit the Initiative to a vote. In light of these recent events, however, the County incorrectly argues
that this action is now moot and should be dismissed, ignoring that the Ninth Circuit has uniformly
rejected the argument that a defendant can, by itself, moot a lawsuit by voluntarily ceasing its
allegedly illegal activity. If that were the case, the Ninth Circuit has recognized, “the courts would
be compelled to leave the defendant free to return to his old ways.” FTC v. Affordable Media, LLC,
179 F.3d 1228, 1238 (9th Cir. 1999) (internal quotations and citation omitted).' That, of course, is
one of the things that Melendez plaintiffs fear might occur here.

More fundamentally, however, as a threshold matter, this Court now lacks jurisdiction to
consider whether Melendez plaintiffs’ request for injunctive relief is moot. Melendez v. Board of
Supervisors —- which, with the dismissal of the Madrigal action, is now all that remains of the
Initiative cases — is a state court action involving only state law claims that was removed to this
Court pursuant to 28 U.S.C. § 1443(2), a rarely-used removal statute that applies only in the very

limited circumstance in which a state official is “refusing to do any act on the ground that it would

‘Notably, the County only seeks dismissal of Melendez plaintiffs’ request for injunctive relief,
and does not address the fact that Melendez plaintiffs are entitled to a judgment on their request for
declaratory relief.

1

In re County of Monterey Initiative Matter (Case Nos. C 06-01407 JW, C 06-01730 JW)
In re Monterey Referendum (Case Nos. C 06-02202 JW, C 06-02369 JW)

MELENDEZ’S AND RSJOC’S CONSOLIDATED OPPOSITION TO COUNTY DEFENDANTS’

AND RANGEL PLAINTIFFS MOTIONS FOR SUMMARY JUDGMENT

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Case 5:06-cv-01730-JW Document 53 Filed 02/13/07 Page 7 of 28

be inconsistent with” a federal law providing for equal rights. With the County’s acquiescence in
placing the Initiative on the ballot, the County is no longer “refusing” to do that act, and accordingly,
this Court no longer has jurisdiction under § 1443(2). The appropriate disposition, then, is to
remand the Melendez action to state court for resolution of plaintiffs’ state law claims, whether by
judgment or dismissal.

Although County Defendants have now agreed that recall and initiative petitions are not
provided by the State and not subject to Section 203 of the VRA, they nonetheless continue to
maintain that referendum petitions — which one federal court has determined “include[] the least
amount of state involvement” — are State-provided electoral materials that must be translated into
minority languages. County Defendants even assert that the Ninth Circuit’s en banc decision in
Padilla v. Lever, 463 F.3d 1046 (9th Cir. 2006) (en banc), holding that Section 203 does not apply
to recall petitions, somehow affirmatively supports their position that Section 203 nevertheless does
apply to privately initiated, drafted, and circulated referendum petitions. But there is no possible
way to read the Padilla en banc decision as anything but a firm and unambiguous rejection of the
argument the County proffers here. Even Judge Reinhardt, who concurred separately in the decision,
reluctantly acknowledged that “the plain and inescapable meaning of the statutory language” (id. at
1056 (Reinhardt, J., concurring)) compelled the result reached by the en banc court, because “the
petition was funded, drafted, printed, and circulated — i.e., provided — by the private proponents
of the recall, although in conformance with the relevant provisions of the California Elections Code.”
Id. at 1053.

County Defendants’ position is not just unsupportable, it is completely unprecedented. In
the more than 30 years that have passed since Section 203 was first added to the Voting Rights Act
in 1975, no city, county, or state anywhere in the country (other than Monterey County here) has
ever taken the position that a referendum petition must be translated into and printed in foreign
languages pursuant to the VRA. Indeed, prior to the Board of Supervisors’ action in this case,
Defendant Monterey County itself certified and held elections on dozens of referendum petitions
that were printed only in English, without once raising any objection to the validity of those petitions

under the VRA.
2

In re County of Monterey Initiative Matter (Case Nos. C 06-01407 JW, C 06-01730 JW)
In re Monterey Referendum (Case Nos. C 06-02202 JW, C 06-02369 JW)

MELENDEZ’S AND RSJOC’S CONSOLIDATED OPPOSITION TO COUNTY DEFENDANTS’

AND RANGEL PLAINTIFFS’ MOTIONS FOR SUMMARY JUDGMENT

Case 5:06-cv-01730-JW Document 53 Filed 02/13/07 Page 8 of 28

This Court should not allow County Defendants to continue to deprive RSJOC plaintiffs and
the thousands of Monterey County residents who signed the Referendum petitions their right to
challenge legislation through the referendum process, an important constitutional check on
governmental power. RSJOC plaintiffs therefore respectfully request that this Court deny County
Defendants’ and Range! plaintiffs’ Cross-Motions for Summary Judgment, and instead grant RSJOC
plaintiffs’ Motion for Summary Judgment so that the Referendum measure can finally be submitted
to a vote of the electorate at the June 5, 2007, election.

I. THE MELENDEZ ACTION SHOULD BE REMANDED TO STATE COURT FOR
RESOLUTION OF PLAINTIFFS’? STATE-LAW CAUSES OF ACTION AND FOR FINAL
DISPOSITION OF THAT CASE

County Defendants quite inappropriately ask this Court to rule that Melendez plaintiffs’
request for injunctive relief is moot when, as a threshold matter, it is clear that the federal courts no
longer have subject matter jurisdiction over this suit. This action must therefore be remanded
forthwith to state court where County Defendants may, if they still desire, raise their mootness
argument. In any event, even were this Court to have jurisdiction to consider it, the County’s
argument has no merit, as discussed below.

A. THE CoURT DOES NoT HAVE JURISDICTION OVER THE MELENDEZ
ACTION PURSUANT 28 U.S.C. § 1443(2) BECAUSE THE COUNTY Is NOT
REFUSING TO PLACE THE INITIATIVE ON THE BALLOT

As is evident from their Opening Memorandum, County Defendants are no longer taking the
position that the Initiative petitions at issue here are invalid under the VRA, and they have therefore
“agreed to permit the Initiative to be placed on the ballot in the next election.” County Defendants’
Memorandum, at 19; see also Resolution 07-021, Declaration of Fredric D. Woocher in Support of
Melendez and RSJOC Plaintiffs’ Motion for Summary Judgment (“Woocher Decl.’’), Exh. A. The
legal effect of the County’s action, however, is not to moot Melendez plaintiffs’ request for
injunctive relief, as County Defendants mistakenly assert, but rather to divest the federal courts of
jurisdiction over the Melendez action.

As more fully discussed in Melendez’s and RSJOC’s Opening Memorandum, this Court
originally had removal jurisdiction over the Melendez action under 28 U.S.C. § 1443(2) — providing

jurisdiction when a state official is sued for “refusing to do any act on the ground that it would be
3

In re County of Monterey Initiative Matter (Case Nos. C 06-01407 JW, C 06-01730 JW)
In re Monterey Referendum (Case Nos. C 06-02202 JW, C 06-02369 JW)

MELENDEZ § AND RSJOC’S CONSOLIDATED OPPOSITION TO COUNTY DEFENDANTS’

AND RANGEL PLAINTIFFS MOTIONS FOR SUMMARY JUDGMENT

Case 5:06-cv-01730-JW Document 53 Filed 02/13/07 Page 9 of 28

inconsistent with” a federal law providing for equal rights —- because the County was, at the time,
refusing to place the Initiative on the ballot on the ground that the petitions allegedly violated the
VRA. See In re County of Monterey Initiative Matter, 427 F. Supp. 2d 958, 959-60 (N.D. Cal.
2006); see also Melendez and RSJOC Opening Memorandum, at 12. But the statute is clear, as is
the case law, that if the state official is not “refusing to act” based upon a federal equal rights law,
there is no basis for jurisdiction and the action must be immediately remanded. See, e.g., City and
County of San Francisco v. Civil Service Commission of the City and County of San Francisco, No.
02-03462, 2002 WL 1677711 (N.D. Cal. July 24, 2002); see also Melendez and RSJOC
Memorandum, at 12-13.

Simply put, therefore, since County Defendants are no longer refusing to place the Initiative
on the ballot, this Court lacks jurisdiction under § 1443(2) and must remand the action to state court.
County Defendants misconstrue the law in arguing against remand because “removal was perfectly
proper’ (County Defendants’ Memorandum, at 17 (emphasis added)), as it is well-established that
jurisdiction must exist throughout all stages of litigation, requiring courts to consider challenges to
subject matter jurisdiction at any time. See, e.g., Rains v. Criterion Systems, Inc., 80 F.3d 339, 342-
43 (9th Cir. 1996) (examining whether the district court had jurisdiction “both at the time the case
was removed and at the time the district court entered its judgment’).

B. THE COUNTY’S VOLUNTARY AND NON-BINDING DECISION TO PLACE THE
INITIATIVE ON THE BALLOT DOES NOT MOOT MELENDEZ PLAINTIFFS’
REQUEST FOR INJUNCTIVE RELIEF

Even were this Court to have jurisdiction, Melendez plaintiffs’ request for injunctive relief
would not be moot merely because the County has, at present, decided to permit the Initiative to be
placed on the ballot. There is no question that the Court may still issue effective relief in this action,
as the election on the Initiative 1s not scheduled to be held for another three months, during which
time period the County may, at any time, withdraw the measure from the ballot. See Northwest
Envtl. Def. Ctr. v. Gordon, 849 F.2d 1241, 1244 (9th Cir. 1988) (basic question of mootness is

whether there is a present controversy to which “any effective relief’ can be granted) (emphasis in

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In re County of Monterey Initiative Matter (Case Nos. C 06-01407 JW, C 06-01730 JW)
In re Monterey Referendum (Case Nos. C 06-02202 JW, C 06-02369 JW)

MELENDEZ’§ AND RSJOC’S CONSOLIDATED OPPOSITION TO COUNTY DEFENDANTS’

AND RANGEL PLAINTIFFS MOTIONS FOR SUMMARY JUDGMENT

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Case 5:06-cv-01730-JW Document 53 Filed 02/13/07 Page 10 of 28

original).’ This Court — or, more properly, the state court — may (and should) therefore order that
the election on the Initiative be held in order to ensure that the County indeed makes good on its
currently non-binding commitment.

California courts routinely issue injunctions in nearly identical situations as here, uniformly
rejecting County Defendants’ argument that their voluntary agreement to finally submit the Initiative
to a vote has mooted any injunctive relief. As the Ninth Circuit has held, such an argument
“‘mischaracterizes the law to such a degree that [defendants] are advocating a legal proposition that
is precisely opposite the rule established by our precedents.” FTC v. Affordable Media, LLC, supra,
179 F.3d at 1237. Rather, voluntary cessation of the challenged conduct moots a case only if it is
“absolutely clear that the allegedly wrongful behavior could not reasonably be expected to recur.”
Adarand Constructors, Inc. v. Slater, 528 U.S. 216, 221 (2000) (emphasis in original). The test for
mootness under such circumstances is necessarily a “stringent one,” for if mere voluntary cessation
could moot a case, “the courts would be compelled to leave the defendant free to return to his old
ways.” FTC vy. Affordable Media, 179 F.3d at 1238 (internal quotations and citation omitted). Thus,
the “heavy burden of persuading the court that the challenged conduct cannot reasonably be expected
to start up again lies with the party asserting mootness.” Adarand Constructors, 528 U.S. at 221
(emphasis in original).

In National Advertising Co. v. City of Fort Lauderdale, 934 F.2d 283 (9th Cir. 1991), for

*The two, non-precedential cases cited by County Defendants fail to lend support to their
mootness argument. In Morcote v. Oracle Corp., No. 05-0386, 2005 WL 3157512 (N.D. Cal. Nov.
23, 2005), the plaintiff sought a declaration that he was not violating a six-month non-compete
provision, but the court found this request for declaratory relief was moot because that provision had
already expired and there was “no possibility that any further damages can accrue.” Jd. at *5. In
stark contrast, here, the election on the Initiative has not yet been held.

Likewise, the court in Lockyer v. U.S. Forest Service, No. 04-02588, 2006 WL 2038491
(N.D. Cal. July 20, 2006), found the action to be moot because the court had already granted all the
relief that was possible at the time. After the court had found that defendants’ fire management plan
violated the National Environmental Policy Act, defendants withdrew the plan and sought and
received a waiver of the requirement to issue that plan. The court accordingly found that plaintiffs’
request for injunctive relief was moot because any order the court might render “would be based
entirely on a hypothetical set of facts.” Jd. at *1-2. Again, the Lockyer case has no applicability to
the instant action in which this Court clearly can grant effective relief ordering the County to hold
an election on the very real, not hypothetical, Initiative measure that has not yet been submitted to
the voters.

5

In re County of Monterey Initiative Matter (Case Nos. C 06-01407 JW, C 06-01730 JW)
In re Monterey Referendum (Case Nos. C 06-02202 JW, C 06-02369 JW)

MELENDEZ’S AND RSJOC’S CONSOLIDATED OPPOSITION TO COUNTY DEFENDANTS’

AND RANGEL PLAINTIFFS’ MOTIONS FOR SUMMARY JUDGMENT

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Case 5:06-cv-01730-JW Document 53 Filed 02/13/07 Page 11 of 28

instance, the Ninth Circuit found that a city’s amendments to the challenged provisions of its sign
code did not moot the case, even though the changes granted plaintiff the relief it had requested. Jd.
at 286. Citing City of Mesquite v. Aladdin’s Castle, Inc., 455 U.S. 283, 289 (1981) — in which the
Supreme Court found that a city’s repeal ofan allegedly unconstitutional section ofan ordinance did
not moot the action because nothing would prevent the city from re-enacting those provisions — the
Ninth Circuit in National Advertising Co. similarly concluded that the city there “presently possesses
the power and authority to amend the sign code,” and that it “remains uncertain whether the City
would return the sign code to its original form if it managed to defeat jurisdiction in this case.” 934
F.3d at 286.

Like the defendants in City of Mesquite and National Advertising, County Defendants here
have failed to satisfy their heavy burden of establishing that it is “absolutely clear” that they will not
return to their old ways, offering no real assurances that they will not later decide to remove the
Initiative from the ballot. To the contrary, they actually assert that their decision to place the
Initiative on the June ballot “is a very close call.” (County Defendants’ Memorandum, at 22.) Given
the vigor with which County Defendants previously argued that the Initiative petitions were invalid
under the VRA, and further given that County Defendants have changed their position on this issue
several times — first certifying the Initiative petition as sufficient, then declaring it invalid and
refusing to submit it to a vote, and now again agreeing to place it on the ballot , while still refusing
to submit the Referendum to a vote — is it really so unreasonable for Melendez plaintiffs to be
cautious about County’s latest promise to place the Initiative on the ballot? Moreover, there is some
reason to doubt the County’s explanation for its sudden reversal of its position on the Initiative —
that it was “merely following the dictates of the Ninth Circuit’s decisions in the Padilla matter”
(County Defendants’ Memorandum, at 22) — given that months after the Padilla en banc decision
was issued, the County still continued to maintain that the Initiative petitions were invalid under the

VRA?

3As recently as November 2006, for example, the County strenuously opposed Melendez
plaintiffs’ motion to the Ninth Circuit for remand, arguing that “there is such a substantial state role
[in the initiative process] that FVRA applies, even under the reasoning of the en banc panel’s
decision,” and that the “underlying principles” of the Padilla en banc ruling actually “provide a basis

6

In re County of Monterey Initiative Matter (Case Nos. C 06-01407 JW, C 06-01730 JW)
In re Monterey Referendum (Case Nos. C 06-02202 JW, C 06-02369 JW)

MELENDEZ’S AND RSJOC’S CONSOLIDATED OPPOSITION TO COUNTY DEFENDANTS’

AND RANGEL PLAINTIFFS’ MOTIONS FOR SUMMARY JUDGMENT

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Case 5:06-cv-01730-JW Document 53 Filed 02/13/07 Page 12 of 28

Regardless of the reasons for the County’s recent action, County Defendants cannot dispute
that there is absolutely nothing preventing the Board of Supervisors from once again changing its
collective mind about the validity of the Initiative petitions and canceling the election on the
measure, as they previously did with the Referendum prior to last June’s election.* On this basis
alone, Melendez plaintiffs’ request for injunctive relief is without question net moot under Ninth
Circuit law.° i

Cc. MELENDEZ PLAINTIFFS’ ADDITIONAL REQUEST FOR DECLARATORY
RELIEF IS ALSO NoT Moot

In any event, Melendez plaintiffs’ third cause of action for declaratory relief is not moot. In
that cause of action, Melendez plaintiffs request a judicial declaration that the Monterey County
Board of Supervisors “has violated its duties under the California Constitution and the California
Elections Code by refusing to either adopt [the Initiative] without alteration, or to submit the
Initiative, without alteration, to the voters of Monterey County.” Melendez Complaint, {3 (Prayer
for Relief). County Defendants completely ignore this request for declaratory relief, perhaps because
they cannot contest that it presents a live controversy over which Melendez plaintiffs are entitled to
a judgment.

Under the Declaratory Judgment Act, federal courts may issue judicial declarations to acase

of “actual controversy” (28 U.S.C. § 2201), which exists when there is a “substantial controversy,

for upholding Judge Ware’s judgment in this case.” See Appellees/Defendants’ Opposition to
Motion to Remand Following En Banc Ruling in Padilla vy. Lever, Supplemental Declaration of
Fredric D. Woocher in Support of Melendez and RSJOC Plaintiffs’ Motion for Summary Judgment,

Exh. A at 3, 4. Likewise, as recently as December 13, 2006, in the case management conference
conducted to address the County’s Motion to Consolidate, County Defendants’ took the position that
the Initiative and Referendum cases involved “nearly identical questions of law” involving the
application of the en banc decision in Padilla, and they gave no hint that the County was considering
placing the Initiative on the ballot.

‘Similarly, because Madrigal plaintiffs’ dismissal of their lawsuit challenging the validity
of the Initiative petitions was “without prejudice,” there is nothing preventing them from refiling that
action at any time, since there is apparently no statute of limitations under the VRA. See Supulation
for Voluntary Dismissal (granted Feb. 6, 2007).

Notably, if County Defendants’ mootness argument were correct, this Court would not have

had the authority to issue its March 23, 2006, injunction enjoining the County from placing the
Initiative on the ballot, because the County was already refusing to do so.

7

In re County of Monterey Initiative Matter (Case Nos. C 06-01407 JW, C 06-01730 JW)
In re Monterey Referendum (Case Nos. C 06-02202 JW, C 06-02369 JW)

MELENDEZ’S AND RSJOC’S CONSOLIDATED OPPOSITION TO COUNTY DEFENDANTS’

AND RANGEL PLAINTIFFS’ MOTIONS FOR SUMMARY JUDGMENT

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Case 5:06-cv-01730-JW Document 53 Filed 02/13/07 Page 13 of 28

between parties having adverse legal interests, of sufficient immediacy and reality to warrant the
issuance of a declaratory judgment.” Maryland Cas. Co. v. Pac. Coal & Oil Co., 312 U.S. 270, 273
(1941); Societe de Conditionnement v. Hunter Eng’g Co., 655 F.2d 938, 942 (9th Cir. 1981). In this
action, there is a substantial controversy over whether the Board violated the law by refusing to
submit the Initiative to a vote in the first instance. Previously, County Defendants affirmatively
disputed the notion that the Board of Supervisors had a mandatory and ministerial duty to place the
Initiative on the ballot under California law, arguing instead that the Board has the authority to
withhold measures from the ballot that it believes are “clearly invalid.” See Defendants’ Opposition
to Application for Issuance of TRO and Preliminary Injunction, at 5-6. County Defendants appear
to continue to take that position, asserting that they did nothing wrong and that they have “acted in
good faith and indeed correctly under the law.” County Defendants’ Memorandum, at 22. Melendez
plaintiffs disagree and have argued that the Board, upon receiving a duly certified initiative, is
required under the law to adopt that measure without alteration or to submit it to a vote of the
electorate; should the Board believe that an initiative is invalid, the proper procedure would be for
it to place the measure on the ballot and then file a petition for writ of mandate seeking a court order
removing the measure from the ballot. See Melendez Complaint, {| 18-19; see also Save Stanislaus
Area Farm Economy v. Board of Supervisors, 13 Cal. App. 4th 141, 148 (1993); Padilla, 463 F.3d
at 1052 n.5 (“the California Court of Appeal has characterized local election officials’ duties as
‘purely ministerial’”).

Moreover, because of the importance of this legal issue and the likelihood that the Board will
be faced with this situation again in the future — indeed, this very week, the Monterey County Board
of Supervisors is determining whether to place a referendum measure sponsored by some of the
Melendez plaintiffs on the June 2007 ballot — there is a significant public interest in having the
legality of the Board’s actions in this regard resolved by the courts, a factor that courts recognize
“militates against a mootness conclusion.” Olgaues v. Russoniello, 770 F.2d 791, 795 (9th Cir.
1985) (emphasis in original). Indeed, as County Defendants argued only two months ago, their
“goal” in this litigation is to “arriv[e] at a uniform set of rules, adjudicated in the courts, that the

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County could follow.” County Defendants’ Motion for Consolidation, at 4 (emphasis added).

8

In re County of Monterey Initiative Matter (Case Nos. C 06-01407 JW, C 06-01730 JW)
In re Monterey Referendum (Case Nos. C 06-02202 JW, C 06-02369 JW)

MELENDEZ § AND RSJOC’S CONSOLIDATED OPPOSITION TO COUNTY DEFENDANTS’

AND RANGEL PLAINTIFFS MOTIONS FOR SUMMARY JUDGMENT

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Case 5:06-cv-01730-JW Document 53 Filed 02/13/07 Page 14 of 28

Although Melendez plaintiffs disagree with the County over what those rules should be, they agree
that this determination should be adjudicated in the courts.

In short, neither the request for injunctive relief nor the cause of action for declaratory relief
is moot, and Melendez plaintiffs deserve a judgment on each.° As the United States Supreme Court
admonished, “[i]t is no small matter to deprive a litigant of the rewards of its efforts,” and doing so
“on the grounds of mootness would be justified only if it were absolutely clear that the litigant no
longer had any need of judicial protection that it sought.” Adarand Constructors, 528 U.S. at 224.”
Of course, the question of mootness here is beside the point as this Court is without jurisdiction to
consider it in the first place; rather, as discussed above, this action should be remanded to state court
for that court’s determination of Melendez plaintiffs’ claims under state law.*

Il. THE COURT SHOULD ORDER THAT THE REFERENDUM MEASURE BE PLACED ON
THE JUNE 2007 BALLOT

A. THE PADILLA EN BANC DECISION FULLY APPLIES TO THE REFERENDUM
PETITIONS AT ISSUE HERE BECAUSE THEY WERE NOT “PROVIDED” BY
THE COUNTY

After having taken the position until now that the referendum process in California is so

similar to the recall process that the panel’s opinion in Padilla v. Lever required the Board of

‘Tronically, the Padilla en banc decision itself was issued years after the recall election at
issue in that case had been held — whereas the election on the Initiative here will not occur for
another three months — yet the en banc court nevertheless found that the request for declaratory
relief was not moot because it “falls classically into that category of cases that survive mootness
challenges because they are ‘capable of repetition, yet evading review.’” Padilla, 463 F.3d at 1049.
That is yet another reason why the instant case is not moot.

‘County Defendants themselves recognize Melendez plaintiffs’ possible need for further
judicial protection, proposing that the Court retain jurisdiction over this matter until the June election
so that “Plaintiffs would be able to seek appropriate relief from the Court” should the County decide
again to remove the Initiative from the ballot. See County Defendants’ Memorandum, at 18. This
proposal, however, would not protect Melendez plaintiffs’ interests, for the County could cancel the
election on the Initiative at the very last minute, leaving plaintiffs’ inadequate time to obtain
effective judicial relief, just as the County did with respect to the Referendum measure shortly before
the June 2006 election.

*Contrary to County Defendants’ assertion, the applicable standards for injunctive and
declaratory relief are quite different under federal and state law. State courts, which are not subject
to article III restrictions, have far more discretion in issuing such relief; for instance, California state
courts may issue declaratory relief to determine future rights of the parties even if those parties have
no present rights in dispute. See, e.g., Parsons v. Tickner, 31 Cal. App. 4th 1513, 1533 (1995); see
also Cal. Code of Civ. Proc., § 1060.

9

In re County of Monterey Initiative Matter (Case Nos. C 06-01407 JW, C 06-01730 JW)
In re Monterey Referendum (Case Nos. C 06-02202 JW, C 06-02369 JW)

MELENDEZ S AND RSJOC’S CONSOLIDATED OPPOSITION TO COUNTY DEFENDANTS’

AND RANGEL PLAINTIFFS MOTIONS FOR SUMMARY JUDGMENT

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_ Case 5:06-cv-01730-JW Document 53 Filed 02/13/07 Page 15 of 28

Supervisors to invalidate the Referendum petition and to withdraw the measure from the ballot,
County Defendants now seek to argue that the processes are so different that the en banc court’s
opinion in Padilla should have no bearing on this case. Remarkably, County Defendants even go
so far as to assert that the en banc opinion in Padilla actually supports their contention that
referendum petitions are covered by Section 203 of the VRA, even though recall petitions (and
initiative petitions) are not.

County Defendants’ argument is illogical on its face. As the Ninth Circuit itself framed its
ruling, “the question presented by this appeal is whether [Section 203’s] requirement attaches to
recall petitions initiated, circulated and paid for by private proponents . .. , when the proponents
are required to draft the petitions in a form specified by the State and county.” Padilla v. Lever, 463
F.3d 1046, 1048 (9th Cir. 2006) (en banc) (emphasis added). The en banc court answered that
question in the negative: “We conclude, as did the district court, that the recall petitions circulated
by the proponents of the recall were not subject to this provision because they were not ‘provided’
by Orange County or the State.... The fact that, under Cal. Elec. Code § 11041(a), the Secretary
of State ‘provides’ the format does not mean that the State ‘provides’ the petitions themselves within
the meaning of the Voting Rights Act.” Jd. at 1050-51; see also id. at 1051 (“It is not reasonable to
hold that this regulatory process transforms petitions privately initiated, drafted, and circulated by
the proponents into petitions ‘provided’ by the County for purposes of the Voting Rights Act.”)
(emphasis added); id. at 1052 (“[T]he ultimate determination is what Congress meant by imposing
requirements on materials ‘provided’ by the State or its subdivision. That term cannot reasonably
be construed to apply to recall petitions initiated, drafted, and circulated by private citizens.”’).

The clear and unequivocal basis of the Ninth Circuit’s ruling in Padilla was thus its
conclusion that recall petitions could not be considered to be “provided” by the State or County
because the petitions themselves were “initiated, circulated, and paid for by private proponents.”
Id. at 1048 (emphasis added). This was certainly Judge Reinhardt’s understanding of the court’s
ruling: “[A]s the majority holds, the petition was funded, drafted, printed, and circulated — i.e.,
provided — by the private proponents of the recall, although in conformance with the relevant

provisions of the California Elections Code.” Id. at 1053 (Reinhardt, J., concurring) (emphasis

10

In re County of Monterey Initiative Matter (Case Nos. C 06-01407 JW, C 06-01730 FW)
In re Monterey Referendum (Case Nos. C 06-02202 JW, C 06-02369 JW)

MELENDEZ’S AND RSJOC’S CONSOLIDATED OPPOSITION TO COUNTY DEFENDANTS’

AND RANGEL PLAINTIFFS’ MOTIONS FOR SUMMARY JUDGMENT

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Case 5:06-cv-01730-JW Document 53 Filed 02/13/07 Page 16 of 28

added). It should be equally clear and unequivocal, then, that the court’s holding in Padilla therefore
applies fully to referendum petitions: Like recall petitions, referendum petitions are also “initiated,
circulated, and paid for by private proponents,” even though “the proponents are required to draft
the petitions in a form specified by the State and county.” Jd. at 1048.

In an attempt to avoid this clear holding, County Defendants argue instead that the en banc
court’s ruling was actually based on the court’s findings that “there is nothing in the chapter
governing elections that specifies the actual wording that proponents must use,” and that “elections
officials [do not] determine the contents of the petition” — a complete misrepresentation of the en
banc decision. Padilla, 463 F.3d at 1051; County Defendants’ Memorandum, at 12; see also Rangel
Memorandum, at 10-11. County Defendants then assert that because county officials do supposedly
supply “the actual wording” of the ordinance or resolution contained in a referendum petition, the
referendum petition is “provided” by the government and therefore is subject to Section 203 of the
VRA. County Defendants are wrong on both counts.

First, this argument is based upon the false logical deduction that the proposition “if A, then
B” necessarily means that the converse is also true, “if not A, then not B.”” That clearly does not
follow. But more fundamentally, the en banc court’s recognition that the Elections Code does not
specify the “actual wording” of the recall petition was certainly not the sole or even primary rationale
for the court’s holding that the VRA did not apply; rather, this observation was made only in the
context of rejecting the plaintiffs’ specific argument that the County should be deemed to “provide”
a recall petition because it specifies and approves “the form and wording of the petition.” See
Padilla, 463 F.3d at 1051; Melendez and RSJOC Memorandum, at 21.

The County’s argument also fails as a factual matter, for the en banc court’s conclusion that
as to recall petitions “there is nothing in the chapter governing elections that specifies the actual

wording that proponents must use” is equally, if not even more, true of referendum petitions. See

*In the specific context of this case, County Defendants are actually positing that because the
court in Padilla held that “if not A [Elections Code does not specify the actual language of the recall
petition], then not B [recall petitions are not covered by Section 203],” this necessarily means that
“if A [Elections Code specifies the actual language of the referendum petition], then B [referendum
petitions are covered by Section 203].”

11

In re County of Monterey Initiative Matter (Case Nos. C 06-01407 JW, C 06-01730 JW)
In re Monterey Referendum (Case Nos. C 06-02202 JW, C 06-02369 JW)

MELENDEZ’S AND RSJOC’S CONSOLIDATED OPPOSITION TO COUNTY DEFENDANTS’

AND RANGEL PLAINTIFFS’ MOTIONS FOR SUMMARY JUDGMENT

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Case 5:06-cv-01730-JW Document 53 Filed 02/13/07 Page 17 of 28

Padilla, 463 F.3d at 1051. The California Elections Code does not specify any of the actual wording
of a referendum petition; there is but a single provision in the Code — section 9147 — indicating
the form for the “heading” of a proposed referendum measure (which must only be in “substantially”
that form) and requiring that each section of the referendum petition “contain” the title and text of
the challenged ordinance. See Cal. Elec. Code, § 9147. Neither of these requirements could
reasonably be interpreted as “specif[ying] the actual wording that proponents must use” for a
referendum petition. Moreover, everything else that might be included in a referendum petition, such
as a statement of the reasons why the proponents believe voters should sign the petitions and should
support the measure, is left to the discretion of the private citizens who initiate, draft, fund, and
circulate the petitions."°

Indeed, a side-by-side review of the Elections Code provisions governing referendum
petitions in comparison with those governing recall petitions shows just how minimal the level of
regulation of the former is in comparison to the much stricter and more detailed requirements set
forth in the Code for the latter, which the Padilla en banc court nevertheless found insufficient to
subject recall petitions to the VRA. For instance, the Elections Code mandates that recall proponents
must use “the recall petition format provided by the Secretary of State and available from the county
elections official or the Secretary of State,” which contains nearly all the language of the petition.
(Id. § 11041(a).); there is no comparable form available from the Secretary of State or the County
Registrar for a referendum petition. Further, the Elections Code imposes other, detailed restrictions
on the content of recall petitions, such as limiting the number of words that may be included in the
petitions and dictating the size and spacing of petition sections. /d. §§ 11020(b); 11023(a);
11041(b); the Code imposes no word, size, spacing, or other comparable limitations on referendum
petitions.

Perhaps most importantly, as Judge Collins stressed in Chinchay v. Verjil, No. 06-1637 (C.D.

'As County Defendants note, Elections Code section 9146 explicitly provides that the
provisions of the Code relating to the form of petitions and the duties of the county elections official
are the same for both initiative and referendum petitions. See County Defendants’ Memorandum,
at 11. Yet despite the “form” of the two petitions being the same, County Defendants argue that the
Elections Code somehow specifies the “actual wording” of referendum petitions but does not do so
for initiative petitions.

12

In re County of Monterey Initiative Matter (Case Nos. C 06-01407 JW, C 06-01730 JW)
In re Monterey Referendum (Case Nos. C 06-02202 JW, C 06-02369 JW)

MELENDEZ’S AND RSJOC’S CONSOLIDATED OPPOSITION TO COUNTY DEFENDANTS’

AND RANGEL PLAINTIFFS’ MOTIONS FOR SUMMARY JUDGMENT

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Case 5:06-cv-01730-JW Document 53 Filed 02/13/07 Page 18 of 28

Cal. Apr. 11, 2006), whereas the Elections Code requires recall proponents to submit their petition
to the elections officials for review prior to its circulation — prohibiting the proponents from
beginning the circulation process until the elections official had affirmatively approved the “form
and wording” of the petition and had determined that all the alterations demanded by the elections
official had been made (id. § 11042) — “a given referendum petition is neither submitted to,
reviewed by nor supplemented in any way by the state until after it has been circulated and all
signatures have been collected.” Order Regarding Plaintiffs’ Motion for Preliminary Injunction in
Chinchay v. Vergil, Woocher Decl., Exh. B, at 19 (emphasis in original). It was primarily this
distinction that led Judge Collins to conclude — even while the original panel decision in Padilla
was still good law — that “of the three types of citizen-sponsored petitions reviewed here, the
referendum petition process includes the least amount of state involvement,” and that “[t]o expand
the application of state-‘provided’ electoral process to referendum would be to ‘strain[] the meaning
of these statutory terms’ beyond what this Court deems to be Congress’s, or the Ninth Circuit’s,
intent.” Jd., Woocher Decl., Exh. B, at 18-19 (emphasis added)."!

Judge Collins certainly would disagree, then, with County Defendants’ assertion that “[i]t
is difficult to imagine greater state involvement” simply because the County had drafted and adopted
the ordinance that becomes the subject of a referendum petition. See County Defendants’
Memorandum, at 12-13. County Defendants provide absolutely no authority for their novel theory
that the requirement that the challenged ordinance be attached to a referendum petition somehow
transforms privately initiated, drafted, and circulated referendum petitions into election materials that
are “provided by” the State and made subject to Section 203 of the VRA. Even if the County could
be said to “provide” the ordinance that is being challenged, there is no question that it does not
“provide” the actual referendum petitions themselves, which is what would trigger coverage under
Section 203. See Melendez and RSJOC Memorandum, at 21-22. Indeed, as discussed above, the

Ninth Circuit in Padilla has already rejected such reasoning, finding that the “fact that, under [the

‘At the time the panel opinion in Padilla was still in effect, Judge Collins found this
distinction to be so critical because the prior review, alteration, and approval of recall petitions by
elections officials was the principal factor that had led Judge Pregerson to consider the petitions as
effectively being “provided by” the county and thus within the coverage of Section 203 of the VRA.

13

In re County of Monterey Initiative Matter (Case Nos. C 06-01407 IW, C 06-01730 JW)
In re Monterey Referendum (Case Nos. C 06-02202 JW, C 06-02369 FW)

MELENDEZ’S AND RSJOC’S CONSOLIDATED OPPOSITION TO COUNTY DEFENDANTS’

AND RANGEL PLAINTIFFS’ MOTIONS FOR SUMMARY JUDGMENT

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Case 5:06-cv-01730-JW Document 53 Filed 02/13/07 Page 19 of 28

California Elections Code], the Secretary of State ‘provides’ the format [ofrecall petitions] does not
mean that the State ‘provides’ the petitions themselves within the meaning of the Voting Rights
Act.” See Padilla, 463 F.3d at 1051 (emphasis added).

B. REFERENDUM PETITIONS Do NoT CONSTITUTE “MATERIALS OR OTHER
INFORMATION RELATING TO THE ELECTORAL PROCESS”

Citing the Ninth Circuit’s decision in Zaldivar v. City of Los Angeles, 780 F.2d 823 (9th Cir.
1986), and the Attorney General’s Guidelines pertaining to Section 203, County Defendants also
argue that referendum petitions constitute “other materials relating to the electoral process,” thereby
satisfying the second criterion necessary for Section 203 to apply. The en banc court in Padilla,
however, expressly rejected each of these authorities as supporting that position. The court
explained that Zaldivar did not rule on whether Section 203 applied to a Notice of Intention to seek
a recall election; instead, “we ruled only that an attorney who signed the complaint could not be
sanctioned under Fed. R. Civ. P. 11 for filing a frivolous lawsuit. That a claim is not frivolous does
not establish that it is meritorious.” Padilla, 463 F.3d at 1051 (citation omitted). As more fully
discussed in Melendez’s and RSJOC’s Opening Memorandum, the en banc court further “was not
convinced that th[e Attorney General’s] regulation encompasses recall petitions initiated, drafted and
circulated by citizens.” /d. at 1052; Melendez and RSJOC Memorandum, at 24-26. That regulation,
the court concluded, “simply cannot reasonably be construed to apply to recall petitions initiated,
drafted and circulated by private citizens.” 463 F.3d at 1052.

Likewise, the only two appellate decisions to squarely address this issue have both held that
privately circulated initiative petitions do not constitute materials relating to the electoral process.
They recognized that the “petition process [is] far too removed from the voting booth to fall under
the [VRA],” Delgado vy. Smith, 861 F.2d 1489, 1493 (11th Cir. 1989), and that the “electoral
process” does not commence until a “measure is qualified for placement upon the ballot, and...

signing of an initiated petition is not ‘voting.”” Montero v. Meyer, 861 F.3d 603, 607 (10th Cir.

14

Jn re County of Monterey Initiative Matter (Case Nos. C 06-01407 JW, C 06-01730 JW)
In re Monterey Referendum (Case Nos. C 06-02202 JW, C 06-02369 JW)

MELENDEZ’S AND RSJOC’S CONSOLIDATED OPPOSITION TO COUNTY DEFENDANTS’

AND RANGEL PLAINTIFFS’ MOTIONS FOR SUMMARY JUDGMENT

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Case 5:06-cv-01730-JW Document 53 Filed 02/13/07 Page 20 of 28

1988).'? Indeed, in California, the “electoral process” triggered by a referendum petition does not
begin until (a) the petition is certified to contain the requisite number of signatures; and (b) the Board
of Supervisors decides that it will not repeal the challenged ordinance but will instead submit it to
a vote of the people. Only at that point is it determined that there will even be an election.

The County highlights this very fact in arguing that the qualification of a referendum petition
may result in the Board of Supervisors’ decision to reconsider and repeal the challenged legislation
without. ever holding an election. County Defendants’ Memorandum, at 12. The County’s
recognition that an election on the referendum may never occur demonstrates that such petitions
cannot be considered electoral materials. Yet County Defendants argue that this possibility actually
supports requiring translation because, according the them, “the law will have been changed by the
10% who signed the petition, not the 50% majority who voted one way or another on the ordinance
itself.” County Defendants’ Memorandum, at 12. County Defendants completely misrepresent the
nature of this aspect of the referendum process, however, for it is the Board of Supervisors — acting
in a legislative, not electoral, capacity — who would be deciding to repeal the challenged ordinance
under that scenario, not the petition signers. If the Board were to choose to repeal the ordinance
upon presentation of a qualified referendum petition, it is because the Board evidently reconsidered
the wisdom of the legislation or, perhaps more likely, realized that it would be defeated in any
ensuing election. In either event, the petition signers do not “become the part of the electorate that
is making decisions about the ordinance,” as County Defendants contend. /d. Rather, the power to
determine whether the challenged ordinance will become law remains either with the Board itself
or with the “actual voters” in an election held on the referendum measure. Jd.

In addition, even though the Ninth Circuit has squarely rejected this argument, Rangel

plaintiffs continue to assert that the inclusion of the word “petitions” in the Attorney General’s

"Two district courts have similarly held that privately circulated petitions do not qualify as
“voting” or “election” materials that are subject to the VRA’s coverage. See Hoyle v. Priest, 59 F.
Supp. 2d 827, 834 (W.D. Ark. 1999) (“signing an initiative petition 1s not tantamount to voting in
an election” and “does not fall within the purview of the Voting Rights Act’); Gerena-Valentin v.
Koch, 523 F. Supp. 176, 177 (S.D.N.Y. 1981) (“The failure to provide bilingual petitions does not
by itself deprive the Hispanic community of their right to vote . . . .”).

15

In re County of Monterey Initiative Matter (Case Nos. C 06-01407 JW, C 06-01730 JW)
In re Monterey Referendum (Case Nos. C 06-02202 JW, C 06-02369 JW)

MELENDEZ 8 AND RSJOC’S CONSOLIDATED OPPOSITION TO COUNTY DEFENDANTS’

AND RANGEL PLAINTIFFS MOTIONS FOR SUMMARY JUDGMENT

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Case 5:06-cv-01730-JW Document 53 Filed 02/13/07 Page 21 of 28

Guidelines demonstrates that all “registered voter petitions” are subject to Section 203 of the VRA.
As an initial matter, this argument proves way too much, for it is now without question that recall
petitions — which Rangel plaintiffs presumably would consider “registered. voter petitions” — are
not subject to Section 203 based upon the Padilla en banc decision. Furthermore, Rangel plaintiffs
(the same Spanish-speaking plaintiffs who voluntarily dismissed the Madrigal action) also
apparently concede that initiative petitions — another type of “registered voter petitions” — are
likewise not covered by Section 203.

Rangel plaintiffs’ expansive interpretation of the Attorney General’s Guidelines thus cannot
be correct; rather, as demonstrated in Melendez’s and RSJOC’s Opening Memorandum, the Attorney
General’s use of the word “petitions” most likely refers only to nominating petitions — an
interpretation that is wholly consistent with the actions of the Department of Justice, which has never
once brought an administrative or judicial enforcement action challenging the validity of an English-
only recall, initiative, or referendum petition during the more than 30 years since Section 203 was
enacted. See Melendez and RSJOC Memorandum, at 24-25 & n.12. In fact, the various Attorney
General Letters of Objection cited by Rangel plaintiffs further support the conclusion that the
Attorney General interprets Section 203 as applying to nominating petitions, but not to citizen-
sponsored recall, initiative, or referendum petitions. Every one of these Letters pertains only to
nominating petitions, and not a single one of them says anything about recall, initiative, or

referendum petitions."

In addition to only referring to nominating petitions, these Letters are also inapplicable here
because they were issued under the preclearance provisions of Section 5 of the VRA, not under
Section 203, which is the statutory provision at issue here. Rangel Plaintiffs’ convoluted argument
regarding why Section 203 should be interpreted in the same manner as Section 5 of the VRA is
unconvincing. There are very good reasons why the scope of Section 5’s coverage is very different
than that of Section 203, including (1) different constitutional underpinnings (Section 5 1s intended
to remedy discriminatory practices in certain selected jurisdictions with a proven history of
discrimination, whereas Section 203 applies more generally to any jurisdiction meeting the statutory
threshold for language minority populations); (2) different procedural mechanisms (Section 5 bars
a covered jurisdiction from changing its election rules without obtaining the Attorney’s General’s
consent, whereas Section 203 applies to all ongoing practices of the jurisdiction, no matter how long
they have been in effect); and —- perhaps most importantly — (3) different statutory language
defining the scope of coverage (Section 5 covers “any voting qualification or prerequisite to voting,
or standard, practice, or procedure with respect to voting” (emphasis added), whereas Section 203
applies only to materials related to the electoral process that are “provided by” the state or a political

16

In re County of Monterey Initiative Matter (Case Nos. C 06-01407 JW, C 06-01730 JW)
In re Monterey Referendum (Case Nos. C 06-02202 JW, C 06-02369 JW)

MELENDEZ’S AND RSJOC’S CONSOLIDATED OPPOSITION TO COUNTY DEFENDANTS’

AND RANGEL PLAINTIFFS’ MOTIONS FOR SUMMARY JUDGMENT

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Case 5:06-cv-01730-JW Document 53 Filed 02/13/07 Page 22 of 28

For example, Rangel plaintiffs include as the centerpiece of their argument a March 4, 1977,
Letter issued by the Attorney General to Monterey County objecting to the County’s bilingual
election plan. Rangel Memorandum, at 11-12. That Letter objects to the County’s failure to prepare
and make nominating petitions available in Spanish as well as in English. Significantly, however,
the Letter makes no similar objection to the County’s practice of accepting and approving — or, in
Rangel plaintiffs’ and County Defendants’ view, “providing” — recall, initiative, and referendum
petitions in English only. .

Even more telling, Rangel plaintiffs cite a March 29, 2002, Letter of Objection issued to the
Chualar Union Elementary School District in Monterey County in which the Attorney General
objected to a proposed change in the method of electing the school district’s trustees, which would
have reinstated an at-large system in place of the existing district system. The change was instituted
by an initiative (erroneously referred to as a “referendum” in the Letter) sponsored by non-Hispanic
proponents, who “easily defeated the Hispanic opposition.” See Rangel Memorandum, at 16-17.
The Attorney General refused to approve the proposed change, however, concluding that it would
have a retrogressive effect on Hispanic voters’ ability to elect candidates of their choice, and that it
appeared to have been motivated, at least in part, by a discriminatory animus. /d.

Again, however, what is most significant about this Letter of Objection for present purposes
is that there is not a word of objection to the fact that the “voter petitions” that proposed the change
that the Attorney General found objectionable were printed and circulated only in English.'* The
Attorney General “examined the circumstances surrounding the initiation of the petition drive, which
led to the referendum on the proposed change” (id. at 16), remarked on the “language and tone” of

the “cover letter, which accompanied the petition” (id. at 17), and even noted that “over 90 percent

subdivision). It is therefore quite inappropriate to blindly import all of the Section 5 jurisprudence
into the interpretation of Section 203’s very different statutory language, as Range plaintiffs suggest.

'4In preparing the papers in support of RS/OC plaintiffs’ previous motion for a preliminary
injunction, counsel for RSJOC plaintiffs personally confirmed with the Attorney General’s office
that the petitions at issue in the Chualar Union Elementary School District Letter of Objection were
printed only in English. After receiving a copy of the English-only petition pursuant to a FOIA
request, RSJOC plaintiffs submitted it to this Court in the August 3, 2006, Declaration of Bryce Gee
in Support of Plaintiffs’ Motion for Preliminary Injunction.

17

In re County of Monterey Initiative Matter (Case Nos. C 06-01407 JW, C 06-01730 JW)
In re Monterey Referendum (Case Nos. C 06-02202 JW, C 06-02369 JW)

MELENDEZ’S AND RSJOC’S CONSOLIDATED OPPOSITION TO COUNTY DEFENDANTS’

AND RANGEL PLAINTIFFS MOTIONS FOR SUMMARY JUDGMENT

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Case 5:06-cv-01730-JW Document 53 Filed 02/13/07 Page 23 of 28

of the persons signing the petition did not reside in” the district that would be affected by the
proposed change (id. at 16), yet the Attorney General did not object that the English-only initiative
petition violated Section 203 of the VRA.

In sum, far from demonstrating that the Attorney General views Section 203 as applying to
recall, initiative, and referendum petitions, these Letters — as well as the fact that the Department
of Justice has never brought an enforcement action challenging an English-only recall, initiative, or
referendum petition — actually evidence the Attorney General’s acquiescence in the 30-year-long
uniform practice of state and local officials across California to not require such citizen-sponsored
petitions to be translated into multiple languages under the VRA."

Cc. THE LEGISLATIVE HISTORY OF SECTION 203 OF THE VOTING RIGHTS ACT
EXPRESSES CONGRESS’ CLEAR INTENT THAT “PETITIONS THAT ARE
INITIATED AND DISTRIBUTED BY PRIVATE CITIZENS” ARE “EXCLU[DED]”
FROM SECTION 203

Remarkably, County Defendants contend that the legislative history of Section 203 of the
VRA somehow supports their interpretation that referendum petitions are subject to Section 203’s
translation requirements. In so arguing, they completely ignore the most recent, and most pertinent,
legislative history pertaining to Section 203 — the Fannie Lou Hamer, Rosa Parks, and Coretta Scott
King Voting Rights Reauthorization and Amendments Act of 2006.

As more fully discussed in Melendez’s and RSJOC’s Opening Memorandum, the House

Rangel plaintiffs’ reference to the Attorney General’s “numerous actions to require covered
jurisdictions to comply with the requirements of Section 203” further demonstrates the Attorney
General’s acquiescence in this practice of not requiring citizen-sponsored recall, initiative, and
referendum petitions to be translated into minority languages. For instance, in response to an
enforcement action filed against Ventura County by the Attorney General, a Consent Decree was
issued on September 2, 2004, requiring the county “to provide in Spanish any ‘registration or voting
notices, forms, instructions, assistance or other materials or information relating to the electoral
process, including ballots’ that they provide in English, as required by Section 203 of the Voting
Rights Act, as amended.” Rangel Memorandum, at 4 & n.12; see also Consent Decree, { 1, attached
as Exh. A to the Declaration of Philip J. Schmit. Yet neither the county nor the Attorney General
has interpreted this Consent Decree to require that private citizens who sponsor and circulate recall,
initiative, or referendum petitions must translate those petitions and circulate them in Spanish as well
as English. In the more than two years since the issuance of the Decree, the county has accepted and
certified numerous English-only initiative and referendum petitions, and has conducted a number
of elections in recent years on ballot measures that qualified for the ballot based upon petitions that
were not printed and circulated in Spanish, without the Attorney General ever once objecting to this
practice. See Schmit Declaration, {{ 3-5.

18

In re County of Monterey Initiative Matter (Case Nos. C 06-01407 JW, C 06-01730 JW)
In re Monterey Referendum (Case Nos. C 06-02202 JW, C 06-02369 JW)

MELENDEZ’S AND RSJOC’S CONSOLIDATED OPPOSITION TO COUNTY DEFENDANTS’

AND RANGEL PLAINTIFFS’ MOTIONS FOR SUMMARY JUDGMENT

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Case 5:06-cv-01730-JW Document 53 Filed 02/13/07 Page 24 of 28

Judiciary Committee’s May 22, 2006, Report on the re-authorization of the Voting Rights Act,
unequivocally states Congress’s declaration that “petitions that are initiated and distributed by
private citizens” are ““exclu[ded]” from Section 203’s translation requirements. H.R. Rep. No. 109-
478, at 59, 2006 WL 1403199 (May 22, 2006); see also Melendez and RSJOC Memorandum, at 22-
24. Congress explained that because Section 203 was enacted “as a remedy for the past and present
failures of States and jurisdictions to remedy educational disparities,” imposing the translation
requirement on private citizens would “have the effect of penalizing them for injuries caused by
States.” H.R. Rep. No. 109-478, at 59 (emphasis added).’* Notably, Congress did not in any way
limit this exclusion to any particular type of citizen-initiated petition, but instead broadly stated that
all “privately prepared and distributed” petitions — whether recall, initiative, or referendum petitions
— do not need to be made available in the covered languages. H.R. Rep. No. 109-478, at 59.'” Such
official committee reports “provide the authoritative expression of legislative intent,” Jn re Kelly

IIT, 841 F.2d 908, 912 n.3 (9th Cir. 1988) (emphasis added), which is why “[t]his circuit relies on

'6For this reason, the Court must also reject Rangel plaintiffs’ argument that Section 203 does
reach private conduct. See Rangel Memorandum, at 23-25. To support that position, Rangel
plaintiffs cite only ether provisions of the VRA, which by their statutory terms expressly implicate
private conduct — such as Section 11, which provides “{n]o person, whether acting under color of
law or otherwise, shall intimidate . . . any person for voting or attempting to vote....” 42 U.S.C.
§ 1973i(b) (emphasis added). But Rangel plaintiffs completely ignore the actual language of
Section 203, which makes clear that the section applies only to materials that the State or political
subdivision “provides,” and which Congress has now clearly interpreted not to apply to private
citizens lest they be penalized for injuries caused by the States. Nor do Rangel plaintiffs explain
why, if Section 203 does indeed cover private conduct as they contend, the Padilla en banc court
found that Section 203 does not apply to recall petitions precisely because they were “initiated,
circulated, and paid for by private proponents.” Padilla, 463 F.3d at 1048 (emphasis added).

Moreover, the fact that a Spanish translation of the Referendum petition was not presented
to Plaintiff Sabas Rangel — who similarly complained that he was unable to read the Initiative
petition at issue in Jn re County of Monterey Initiative Matter, yet has since dismissed that lawsuit
— also does not support subjecting private citizens to the minority language provisions of
Section 203, as Rangel plaintiffs propose. As the Ninth Circuit has already held, “when the Voting
Rights Act creates no duty to present a petition to the plaintiffs in the first place, it is difficult to see
why the Act requires the petition to be translated into their language.” Jd. at 1052.

"The 1975 Senate Report that County Defendants cite as support for their position actually
further demonstrates that in enacting Section 203, Congress intended to make the minority
translation requirement only “applicable to states and political subdivisions,” and not to private
citizens. See, e.g.,S. Rep. No. 94-295, at 9, as reprinted in 1975 U.S.C.C.A.N. 774, 775 (emphasis
added); id. at 48 (“For a period of 10 years, state and local officials are prohibited from providing
English-only registration and election materials .. . .”) (emphasis added).

19

In re County of Monterey Initiative Matter (Case Nos. C 06-01407 JW, C 06-01730 JW)
In re Monterey Referendum (Case Nos. C 06-02202 JW, C 06-02369 JW)

MELENDEZ’S AND RSJOC’S CONSOLIDATED OPPOSITION TO COUNTY DEFENDANTS’

AND RANGEL PLAINTIFFS’ MOTIONS FOR SUMMARY JUDGMENT

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Case 5:06-cv-01730-JW Document 53 Filed 02/13/07 Page 25 of 28

official committee reports when considering legislative history, not stray comments by individuals
or other materials unrelated to the statutory language or the committee reports.” Hertzberg v. Dignity
Partners, Inc., 191 F.3d 1076, 1082 (9th Cir. 1999).

Significantly, there is one important point about the legislative history on which Plaintiffs
and County Defendants are in complete agreement: Congress’ re-authorization of the Voting Rights
Act without amending Section 203 must be viewed as congressional acquiescence in the
interpretation given to that provision by the courts. See Melendez and RSJOC Plaintiffs’
Memorandum, at 23 n.11 (citing Dougherty County Board of Education v. White, 439 U.S. 32, 38
(1978) (“Had Congress disagreed with [the courts’] broad construction of § 5, it presumably would
have clarified its intent when re-enacting the statute in 1970 and 1975.”)); County Defendants’
Memorandum, at 15 (citing same decision)). However, contrary to the suggestion in the County’s
brief, it was not the unique interpretation placed on Section 203 by Judge Pregerson’s panel opinion
in Padilla that Congress acquiesced in by re-authorizing Section 203 without change, for at the time
the House Judiciary Committee Report was issued in May 2006 and the Voting Rights Act was re-
enacted in July 2006, the panel opinion in Padilla had been withdrawn. See 446 F.3d 963 (9th Cir.
April 28, 2006).'® Rather, it was the established judicial interpretation given to Section 203 in the
20-year-old precedents of the courts of appeals in both Montero v. Meyer, 861 F.2d 603 (10th Cir.
1988) and Delgado v. Smith, 861 F.2d 1489 (11th Cir. 1988), that Congress must be deemed to have

intended to adopt in re-authorizing the Voting Rights Act for an additional 25 years — an

‘Contrary to the claim in the County’s Memorandum (id. at 15), there is no evidence
suggesting that Congress was aware of the existence of this Court’s decision in Jn re Monterey
Initiative Matter. The supporting “evidence” cited by the County consists entirely of one sentence
in the testimony of Orange County Supervisor Chris Norby, who referred to a Ninth Circuit decision
“plac[ing] in doubt” a “recent recall election in Santa Ana” and then observed that “[s]imilar
petitions are being challenged all over the state.” County Defendants’ Request for Judicial Notice,
Exh. C, at 1-2. Nor does the fact that Congress declined Mr. Norby’s request for a “total
reexamination” of Section 203 (id.), including amending its language to explicitly exclude
“initiative, referendum or recall petitions” from the statute’s coverage, demonstrate any sort of
congressional support for the County’s position. County Defendants’ Memorandum, at 15. Rather,
that Supervisor Norby even raised the issue of Section 203’s applicability to private petitions in his
testimony may well explain why Congress felt the need to go out of its way to include an explicit
statement in the House Committee Report that Section 203 “does not require private citizens to make
privately prepared and distributed materials available in the covered languages.” H.R. Rep. No. 109-
478, at 59, 2006 WL 1403199 (May 22, 2006).

20

In re County of Monterey Initiative Matter (Case Nos. C 06-01407 JW, C 06-01730 JW)
In re Monterey Referendum (Case Nos. C 06-02202 FW, C 06-02369 JW)

MELENDEZS AND RSJOC’S CONSOLIDATED OPPOSITION TO COUNTY DEFENDANTS’

AND RANGEL PLAINTIFFS’ MOTIONS FOR SUMMARY JUDGMENT

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Case 5:06-cv-01730-JW Document 53 Filed 02/13/07 Page 26 of 28

interpretation that unequivocally holds that privately circulated petitions are not subject to

Section 203’s requirements.”

D. THERE Is NO MERIT TO RANGEL PLAINTIFFS’ REQUEST TO CONVENE A
THREE-JUDGE COURT

Finally, Melendez and RJSOC plaintiffs respectfully request that this Court decline Rangel
plaintiffs’ invitation to be the first in the country to hold that private right of actions alleging
Section 203 violations must be heard by a three-judge court. Rangel plaintiffs merely rehash —
nearly verbatim — the same novel and unsupportable arguments they previously made in their
original Request for the Convening of a Three Judge Court, which Melendez and RS/JOC plaintiffs
have fully addressed in their Opening Memorandum (id. at 26-31). Accordingly, Melendez and
RSJOC plaintiffs wish only to highlight a few brief points here.

Most conspicuously, Rangel plaintiffs utterly fail to explain why if a three-judge court is truly
required here, every other court — including the Ninth Circuit in the Padilla appeal — has refused
to follow that procedure, instead proceeding to hear such private actions in the district court with
appeal being taken in the normal course to the court of appeals. See Melendez and RSJOC
Memorandum, at 27-28, and cases cited therein. Indeed, when this precise argument that private
actions under Section 203 should be heard by a three-judge court was made by the Solicitor General,
the United States Supreme Court rejected it by denying certiorari. See Montero v. Meyer, 492 U.S.
921 (1989). There simply exists no basis for greatly expanding the reach of Section 204 of the VRA

— which by its own terms applies only to actions brought by the Attorney General “in the name of

'Tt is telling how County Defendants apply their “acquiescence” argument selectively. On
the one hand, they assert that congressional acquiescence in the Montero and Delgado decisions is
of “dubious” precedential value here, since “those cases involved the initiative process, not the
referendum process.” County Defendants’ Memorandum, at 15. But on the very same page, they
ask this Court to consider re-authorization of the VRA to constitute congressional acquiescence in
the panel opinion in Padilla and in this Court’s decision in Jn re County of Monterey Initiative

‘Matter — which, of course, involved the recall and initiative processes, respectively. /d. County

Defendants cannot have it both ways, arguing that Congress acquiesced in the decisions that they
like, but not in the decisions that they don’t like, particularly when the opinion they would like to
rely upon was withdrawn prior to any Congressional action. Indeed, the withdrawal of the panel
opinion in Padilla may explain why Congress felt it unnecessary to amend the actual language of
Section 203 in response to that opinion, since the only court of appeals’ precedents on the books at
the time the VRA was re-authorized had held that privately circulated petitions were not covered by
Section 203.

21

In re County of Monterey Initiative Matter (Case Nos. C 06-01407 JW, C 06-01730 JW)
In re Monterey Referendum (Case Nos. C 06-02202 JW, C 06-02369 JW)

MELENDEZ 8 AND RSJOC’S CONSOLIDATED OPPOSITION TO COUNTY DEFENDANTS’

AND RANGEL PLAINTIFFS’ MOTIONS FOR SUMMARY JUDGMENT

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Case 5:06-cv-01730-JW Document 53 Filed 02/13/07 Page 27 of 28

the United States” —— to cover private actions brought individually, particularly given that such
statutes “providing for the convening of three-judge courts must be strictly construed.” Allen v.
State Board of Elections, 393 U.S. 544, 562 (1969) (emphasis added); see also id. (courts “have been
reluctant to extend the range of cases necessitating the convening of three-judge courts.”).

Nor can Rangel plaintiffs explain how either their own action or the RSJOC action could
possibly qualify for a three-judge court, even if their interpretation were correct. Although Rangel
plaintiffs now assert that Section 204 of the VRA, 28 U.S.C. § 1973aa-2, is the basis for the Court’s
jurisdiction to hear their action, that was not the basis they relied upon in their Complaint; rather,
they alleged that the Court had jurisdiction under 28 U.S.C. §§ 1331, 1343(a)(3), 1343(4), 2201, and
2202, none of which require the convening of a three-judge court. Rangel Complaint, § 8. To this
day, Rangel plaintiffs have not sought to amend their Complaint, nor have they ever asserted'that the
jurisdictional allegations in their Complaint were incomplete or inaccurate.

Furthermore, regardless of Section 204’s applicability to the Rangel lawsuit, it is absolutely
clear that the convening of a three-judge court is not warranted or authorized in the RSJOC action.
That action was not brought under either Section 203 or 204 of the VRA, but rather was originally
filed in state court raising only state-law claims, and it was removed to this Court pursuant to 28
U.S.C. § 1443(2). Itis therefore 28 U.S.C. § 1443(2) that forms the basis of this Court’s jurisdiction
over the RSJOC matter, and that section indisputably contains no requirement for convening a three-
judge court. See Melendez and RSJOC Memorandum, at 29.

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In re County of Monterey Initiative Matter (Case Nos. C 06-01407 FW, C 06-01730 FW)
In re Monterey Referendum (Case Nos. C 06-02202 JW, C 06-02369 FW)

MELENDEZ ’§ AND RSJOC’S CONSOLIDATED OPPOSITION TO COUNTY DEFENDANTS’

AND RANGEL PLAINTIFFS MOTIONS FOR SUMMARY JUDGMENT

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Case 5:06-cv-01730-JW Document 53 Filed 02/13/07 Page 28 of 28

CONCLUSION
For all the foregoing reasons, Melendez and RSJOC plaintiffs respectfully request that
this Court grant their Motion for Summary Judgment, remanding the Melendez v. Board of
Supervisors action to the Monterey County Superior Court for the appropriate resolution of the
state-law causes of action, denying the declaratory and injunctive relief requested by the Rangel
plaintiffs, and issuing the declaratory and injunctive relief requested by the RSJOC plaintiffs
ordering County Defendants either to repeal Resolution No. 05-305 in its entirety or to place the

Referendum on the June 5, 2007, ballot for a vote of the Monterey County electorate.

DATE: February 13, 2007 Respectfully submitted,

STRUMWASSER & WOOCHER LLP
Fredric D. Woocher

Michael J. Strumwasser

Bryce A. Gee

By /s/
Fredric D. Woocher

Attorneys for Plaintiffs Melendez, et al.
and Plaintiffs Rancho San Juan Opposition
Coalition, et al.

23

In re County of Monterey Initiative Matter (Case Nos. C 06-01407 JW, C 06-01730 JW)
In re Monterey Referendum (Case Nos. C 06-02202 JW, C 06-02369 JW)

MELENDEZ § AND RSJOC’S CONSOLIDATED OPPOSITION TO COUNTY DEFENDANTS’

AND RANGEL PLAINTIFFS MOTIONS FOR SUMMARY JUDGMENT

